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       In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 12-359V
                                    Filed: September 19, 2014

* * * * * * * * * * * * * * * *                               UNPUBLISHED
SUMMER PERRY,            *
                              *                               Special Master Gowen
          Petitioner,         *
                              *                               Joint Stipulation on Damages;
v.                            *                               Hepatitis B vaccine; Fatigue;
                              *                               Myasthenia gravis; Eyelid Drooping;
SECRETARY OF HEALTH           *                               Muscle weakness; Fatigue-induced
AND HUMAN SERVICES,           *                               diplopia
                              *
          Respondent.         *
                              *
* * * * * * * * * * * * * * * *

Mark T. Sadaka, Sadaka Associates LLC, Englewood, NJ, for petitioner.
Darryl R. Wishard, United States Department of Justice, Washington, DC, for respondent.

                           DECISION ON JOINT STIPULATION1

        On June 6, 2012, Summer Perry (“petitioner”) filed a petition pursuant to the National
Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006). Petitioner alleged
that as a result of receiving a Hepatitis B vaccine on June 11, 2009, July 29, 2009, and March 19,
2010 she suffered myasthenia gravis, along with fatigue, muscle weakness, eyelid drooping, and
fatigue-induced diplopia. Stipulation ¶ 2, 4, filed Sept. 19, 2014. Further, petitioner alleged that
she experienced residual effects of her injury for more than six months. Id. at ¶ 4.
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


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        On September 19, 2014, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation. Respondent denies that the Hepatitis B vaccinations
either caused or significantly aggravated petitioner’s alleged injury or any other injury. Id. at ¶
6. Nevertheless, the parties agree to the joint stipulation, attached hereto as Appendix A. The
undersigned finds the stipulation reasonable and adopts it as the decision of the Court in
awarding damages, on the terms set forth therein.

       The parties stipulate that petitioner shall receive the following compensation:

       A lump sum of $40,000.00, in the form of a check payable to petitioner, Summer
       Perry. This amount represents compensation for all damages that would be
       available under 42 U.S.C. § 300aa-15(a).

       Id. at ¶ 8.

       The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         The clerk of the court SHALL ENTER JUDGMENT in accordance with the terms of
the parties’ stipulation.3

       IT IS SO ORDERED.

                                             s/ Thomas L. Gowen
                                             Thomas L. Gowen
                                             Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


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                IN THE UNITED STATES COL.Ef DF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

                                              )
SUMMER PERRY,                                 )
                                              )
                     Petitioner,              )       No. 12-359V ECF
                                              )
                v.                            )       Special Master Gowen
                                              )
SECRETARY OF HEALTH                           )
AND HUMAN SERVICES,                           )
                                              )
                 Respondent.                  )
______________ )
                                         STIPULATION

        The parties hereby stipulate to the following matters:

        1.   Petitioner, Summer Perry, filed a petitbn for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 to 34 (the "Vaccine

Program").    The petition seeks compensation for injuries allegedly related to petitioner's receipt

of the Hepatitis B ("Hep B") vaccine, which vaccine is contained in the Vaccine Injury Table

(the "Table"), 42 C.F.R. § 100.3(a).

        2.   Petitioner received Hep B vaccine on June 11, 2009, July 29, 2009, and March 19,

2010.

        3.   The vaccines were administered within the United States.

        4.   Petitioner alleges that, as a result ofreceiving Hep B vaccine, she suffered from

myasthenia gravis ("MG"), along with fatigue, muscle weakness, eyelid drooping, and

fatigue-induced diplopia, and that she experienced :,:<:-riptoms of this injury for more than six

months.


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        5.    Petitioner represents that there has been no prior award or settlement of a civil action

for damages as a result of her alleged injuries.

        6.    Respondent denies that Hep B vaccine either caused or significantly aggravated

petitioner's alleged injury or any other injury.

        7.    Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8.    As soon as practicable after an entry of judgment. reflecting a decision consistent

with the terms of this Stipulation, and after petitioner has filed an election to receive

compensation pursuant to 42 U.S.C._ § 300aa-21(a)(l), the Secretary of Health and Human

Services will issue the following vaccine compensation payment:

                 A lump sum of $40,000.00, in the form of a check payable to petitioner. This
                 amount represents compensation for all damages that would be available under 42
                 U.S.C. § 300aa-15(a).

        9.    As soon as practicable after the entry of judgment on entitlement in this case, and

after petitioner has filed both a proper and timely election to receive compensation pursuant to

42 U.S.C. § 300aa-21(a)(l), and an application, the parties will submit to further proceedings

before the special master to award reasonable attorneys' fees and costs incurred in proceeding

upon this petition.

        10.    Petitioner and her attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-15(g), to the extent that payment has been made or can reasonably be

expected to be made under any State compensation programs, insurance policies, Federal or


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State health benefits programs (other than Title XIX oithe Social Security Act (42 U.S.C.

§ 1396 et seq.)), or by entities that provide health services on a pre-paid basis.

        11.   Payment made pursuant to paragraph 8 of this Stipulation, and any amounts

awarded pursuant to paragraph 9 of this Stipulation, will be made in accordance with 42 U.S.C.

§ 300aa-15(i), subject to the availability of sufficient statutory funds.

        12.   The parties and their attorneys further agree and stipulate that, except for any award

for attorneys' fees and litigation costs, the money provided pursuant to this Stipulation will be

used solely for the benefit of petitioner, as contemplated by a strict construction of 42 U.S.C.

§ 300aa-15(a) and (d), and su_bject to the conditions of 42 U.S.C. § 300aa-15(g) and (h).

        13.   In return for the payments described ir:. pat'agraphs 8 and 9, petitioner, in her

individual capacity and on behalf of her heirs, executors, administrators, successors or assigns,

does fo~ever irrevocably and unconditionally release, acquit and discharge the United States and

·the Secretary of Health and Human Services from any and all actions, causes of action (including

agreements, judgments, claims, damages, loss of services, expenses and all demands of whatever

kind or nature) that have been brought, could have been brought, or could be timely brought in

the Court of Federal Claims, under the National Vaccine Injury Compensation Program, 42

U.S.C. § 300aa-10 et seq., on account of, or in any way growing out of, any andall known or

unknown, suspected or unsuspected personal injuries to or death of petitioner resulting from, or

alleged to have resulted from~ the Hep B vaccine administered on June 11, 2009, July 29, 2009,

and March 19, 2010, as alleged by petitioner in a pc~Li~n for vaccine compensation filed on or

about June 6, 2012, in the United States Court of Federal Claims as petition No. 12-359V.

        14.   If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.

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        15.   If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or ifthe Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at ,':e sole discretion of either party.

        16.   This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above.      There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

·and clearly agreed to.   The parties further agree and understand that the award described in this

stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the     F~,1   B vaccine either caused or significantly

aggravated petitioner's alleged injury or any other injury.

        18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                     END OF STIPULATION




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